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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  MIDLAND DIVISION

PERMIAN BASIN PETROLEUM
ASSOCIATION; NATIONAL
CATTLEMEN’S BEEF ASSOCIATION;
TEXAS CATTLEFEEDER’S ASSOCIATION;
KANSAS LIVESTOCK ASSOCIATION;
OKLAHOMA CATTLEMEN’S
ASSOCIATION; AND NEW MEXICO
CATTLE GROWERS ASSOCIATION,

       Plaintiffs,                                          Civil Action No. 7:23-cv-49
v.                                                      PROPOSED DEFENDANT-
                                                        INTERVENORS’ ANSWER
U.S. DEPARTMENT OF THE INTERIOR;
U.S. FISH AND WILDLIFE SERVICE;
DEBRA HAALAND, in her official capacity
as SECRETARY OF THE INTERIOR;
MARTHA WILLIAMS, in her official capacity
as DIRECTOR OF THE U.S. FISH AND
WILDLIFE SERVICE,

       Defendants.




       Proposed Defendant-Intervenors Center for Biological Diversity and Texas Campaign for

the Environment hereby answer all claims and allegations raised in the Original Complaint of the

Permian Basin Petroleum Association et al., filed as ECF No. 3 in Case No. 7:23-cv-49-DC-

RCG (W.D. Texas). In response to the like-numbered paragraphs of Plaintiffs’ Complaint, the

Proposed Defendant Intervenors state and aver as follows:

                                  I.     INTRODUCTION

     1.        Admit.




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      2.       The allegations in sentences one and two of paragraph 2 constitute Plaintiffs’

characterization of its case, which do not require a response. The allegations in sentence three and

four of paragraph 2 constitute legal conclusions, which do not require a response. To the extent

that a response is required, Proposed Defendant-Intervenors deny the allegations.

      3.       The allegations in paragraph 3 constitute legal conclusions, which do not require a

response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      4.       The allegations in paragraph 4 constitute legal conclusions and Plaintiffs’ request

for relief, which do not require a response. To the extent a response is required, Proposed

Defendant-Intervenors deny the allegations.

                                         II.     PARTIES

      5.       Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one through eight of paragraph 5 and, on that

basis, deny them. The allegations in sentences nine through twelve of paragraph 5 constitute legal

conclusions and Plaintiffs’ characterization of its case, which do not require a response. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      6.       Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one and two of paragraph 6 and, on that basis,

deny them. The allegations in sentences three and four of paragraph 6 constitute legal conclusions

and Plaintiffs’ characterization of its case, which do not require a response. To the extent a

response is required, Proposed Defendant-Intervenors deny the allegations.

      7.       Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one through four paragraph 7 and, on that



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basis, deny them. The allegations in sentences five and six of paragraph 7 constitute legal

conclusions and Plaintiffs’ characterization of its case, which do not require a response. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      8.       Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one, two and three of paragraph 8 and, on that

basis, deny them. The allegations in sentences four and five of paragraph 8 constitute legal

conclusions and Plaintiffs’ characterization of its case, which do not require a response. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      9.       Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one through four of paragraph 9 and, on that

basis, deny them. The allegations in sentences five and six of paragraph 9 constitute legal

conclusions and Plaintiffs’ characterization of its case, which do not require a response. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      10.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in sentences one, two and three of paragraph 10 and, on

that basis, deny them. The allegations in sentences four and five of paragraph 10 constitute legal

conclusions and Plaintiffs’ characterization of its case, which do not require a response. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      11.      The allegations in paragraph 11 constitute legal conclusions, which do not require

a response.

      12.      With respect to the allegations in paragraph 12, Proposed Defendant-Intervenors

admit only that Deb Haaland is the Secretary of Interior and is being sued in her official capacity.




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The remaining allegations in paragraph 12 constitute legal conclusions, which do not require a

response.

      13.      With respect to the allegations in paragraph 13, Proposed Defendant-Intervenors

admit only that the U.S. Fish and Wildlife Service (“Service”) is an agency within the Department

of Interior that lists terrestrial species under the Endangered Species Act (“ESA”). The remaining

allegations in paragraph 13 constitute legal conclusions and Plaintiffs’ characterization of its case,

which do not require a response.

      14.       With respect to the allegations in paragraph 14, Proposed Defendant-Intervenors

admit only that Director Martha Williams oversees the Service and is being sued in her official

capacity. The remaining allegations in paragraph 14 constitute legal conclusions, which do not

require a response.

                             III.    JURISDICTION AND VENUE

      15.      The allegations in paragraph 15 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      16.      The allegations in paragraph 16 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      17.      The allegations in paragraph 17 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.




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      18.      The allegations in paragraph 18 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

                               IV.     LEGAL FRAMEWORK

      19.      The allegations in paragraph 19 purport to describe or characterize the contents of

the Administrative Procedure Act (“APA”), which speaks for itself and is the best evidence of its

content. Proposed Defendant-Intervenors deny any allegations contrary to its plain language,

meaning, and context.

      20.      The allegations in paragraph 20 purport to describe or characterize the contents of

the APA and Supreme Court and 5th Circuit opinions, which speak for themselves and are the best

evidence of their contents. Proposed Defendant-Intervenors deny any allegations contrary to their

plain language, meaning, and context. The remaining allegations in paragraph 20 constitute legal

conclusions which do not require a response. To the extent a response is required, Proposed

Defendant-Intervenors deny the allegations.

      21.      The allegations in paragraph 21 purport to describe or characterize the contents of

the APA and 5th Circuit and Supreme Court opinions, which speak for themselves and are the best

evidence of their contents. Proposed Defendant-Intervenors deny any allegations contrary to their

plain language, meaning, and context. The remaining allegations in paragraph 21 constitute legal

conclusions which do not require a response. To the extent a response is required, Proposed

Defendant-Intervenors deny the allegations.

      22.      The allegations in paragraph 22 purport to describe or characterize the contents of

Supreme Court and 5th Circuit opinions, which speak for themselves and are the best evidence of

their contents. Proposed Defendant-Intervenors deny any allegations contrary to their plain



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language, meaning, and context. The remaining allegations in paragraph 22 constitute legal

conclusions which do not require a response. To the extent a response is required, Proposed

Defendant-Intervenors deny the allegations.

      23.      The allegations in paragraph 23 purport to describe or characterize the contents of

the ESA, which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      24.      The allegations in sentences one and three paragraph 24 constitute legal conclusions

and Plaintiffs’ characterization of its case, which do not require a response. To the extent a

response is required, Proposed Defendant-Intervenors deny the allegations. The allegations in

sentence two of paragraph 24 purport to describe or characterize the contents of the ESA, which

speaks for itself and is the best evidence of its contents. Proposed Defendant-Intervenors deny any

allegations contrary to its plain language, meaning, and context.

      25.      The allegations in paragraph 25 purport to describe or characterize the contents of

the Policy Regarding the Recognition of Distinct Vertebrate Population Segments under the ESA

(“DPS Policy”), which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      26.      The allegations in paragraph 26 purport to describe or characterize the contents of

the DPS Policy, which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      27.      The allegations in paragraph 27 purport to describe or characterize the contents of

the DPS Policy which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.




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      28.      The allegations in paragraph 28 constitute legal conclusions, which do not require

a response. To the extent that a response is required, Proposed Defendant-Intervenor denies the

allegations.

      29.      The allegations in paragraph 29 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. The allegations in paragraph 23 also purport

to describe or characterize the contents of the ESA, which speaks for itself and is the best evidence

of its content. Proposed Defendant-Intervenors deny any allegations contrary to its plain language,

meaning, and context.

      30.      The allegations in sentences one, two and four of paragraph 30 purport to describe

or characterize the contents of the ESA, which speaks for itself and is the best evidence of its

content. Proposed Defendant-Intervenors deny any allegations contrary to its plain language,

meaning, and context. The remaining allegations in paragraph 30 constitute legal conclusions,

which do not require a response. To the extent a response is required, Proposed Defendant-

Intervenors deny the allegations.

      31.      The allegations in paragraph 31 purport to describe or characterize the contents of

the PECE Policy, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      32.      The allegations in paragraph 32 purport to describe or characterize the contents of

the PECE Policy, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      33.      The allegations in paragraph 33 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,



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Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

33 purport to describe or characterize the contents of the PECE Policy, which speaks for itself and

is the best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary

to its plain language, meaning, and context.

      34.      The allegations in paragraph 34 purport to describe or characterize the contents of

the PECE Policy, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      35.      The allegations in paragraph 35 purport to describe or characterize the contents of

the PECE Policy, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      36.      The allegations in sentences one through four of paragraph 36 purport to describe

or characterize the contents of the ESA and regulations implementing the ESA, which speaks for

themselves and are the best evidence of their content. Proposed Defendant-Intervenors deny any

allegations contrary to their plain language, meaning, and context. The allegations in sentence five

of paragraph 36 constitute legal conclusions and Plaintiffs’ characterization of its case, which do

not require a response. To the extent a response is required, Proposed Defendant-Intervenors deny

the allegations.

      37.      The allegations in paragraph 37 purport to describe or characterize the contents of

the ESA, which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      38.      The allegations in sentence one of paragraph 38 purport to describe or characterize

the contents of the ESA, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.



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The allegations in sentence two of paragraph 38 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      39.      The allegations in paragraph 39 purport to describe or characterize the contents of

the ESA and regulations implementing the ESA, which speaks for themselves and are the best

evidence of their content. Proposed Defendant-Intervenors deny any allegations contrary to their

plain language, meaning, and context.

      40.      The allegations in paragraph 40 purport to describe or characterize the contents of

the ESA, which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      41.      The allegations in sentence one of paragraph 41 purport to describe or characterize

the contents of the ESA, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

                                     V.      BACKGROUND

      42.      With respect to the allegations in paragraph 42, Proposed-Defendant Intervenors

admit only that the lesser prairie-chicken is a species of prairie grouse native to the southern high

plains of the United States. Proposed Defendant-Intervenors lack knowledge or sufficient

information to form a belief as to the truth of the remaining allegations in paragraph 42, and on

that basis, deny them.

      43.      Admit.

      44.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 44 and, on that basis, deny them.




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      45.      The allegations in paragraph 45 purport to describe or characterize the contents of

the Species Status Assessment Report, which speaks for itself and is the best evidence of its

content. Proposed Defendant-Intervenors deny any allegations contrary to its plain language,

meaning, and context.

      46.      The allegations in sentence one of paragraph 46 constitute Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. The allegations in sentence two of

paragraph 46 purport to describe or characterize the contents of the Listing Decision, which speaks

for itself and is the best evidence of its content. Proposed Defendant-Intervenors deny any

allegations contrary to its plain language, meaning, and context.

      47.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 47 and, on that basis, deny them. To the

extent a response is required, Proposed Defendant-Intervenors deny the allegations.

      48.      Proposed Defendant-Intervenors admit only that the Range Wide Plan is

administered by the Western Association of Fish and Wildlife Agencies. The Range Wide Plan

speaks for itself and is the best evidence of its contents. Proposed Defendant-Intervenors lack

knowledge or sufficient information to form a belief as to the truth of the allegations in paragraph

48 and, on that basis, deny them.

      49.      The Range Wide Plan Candidate Conservation Agreement with Assurances speaks

for itself and is the best evidence of its contents. Proposed Defendant-Intervenors otherwise lack

knowledge or sufficient information to form a belief as to the truth of the allegations in paragraph

49 and, on that basis, deny them.




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      50.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 50 and, on that basis, deny them.

      51.      The allegations in sentence one of paragraph 51 purport to describe or characterize

the contents of the 2014 Listing Decision, which speaks for itself and is he best evidence of its

content. Proposed Defendant-Intervenors deny any allegations contrary to its plain language,

meaning, and context. The remaining allegations in paragraph 51 constitute legal conclusions and

Plaintiffs’ characterization of its case, which do not require a response. To the extent a response is

required, Proposed Defendant-Intervenors deny the allegations.

      52.      The allegations in paragraph 52 purport to describe or characterize the contents of

this court’s decision in Permian Basin Petroleum Ass’n v. Dep’t of the Interior, 127 F. Supp. 3d

700, 725 (W.D. Tex. 2015), which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      53.      Admit.

      54.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 54 and, on that basis, deny them.

      55.      Proposed Defendant-Intervenors admit that environmental groups petitioned the

Service to list the lesser prairie-chicken as endangered. The listing petition speaks for itself and is

the best evidence of its content. Proposed Defendant-Intervenors also admit that the Service “took

no further action for several years.” To the extent any other response is required, Proposed

Defendant-Intervenors deny the allegations.

      56.      Admit as to sentence one of paragraph 56. The remaining allegations in paragraph

56 purport to describe or characterize the contents of Defenders of Wildlife et al v. Bernhardt, 19-




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CV-1709 (D.D.C), which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      57.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 57 and, on that basis, deny them.

      58.       The allegations in paragraph 58 purport to describe or characterize the contents of

the Proposed Rule, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      59.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 59 and, on that basis, deny them. Additionally,

the allegations in the final sentence of paragraph 59 constitute Plaintiffs’ characterization of its

case, which do not require a response. To the extent a response is required, Proposed Defendant-

Intervenors deny the allegations.

      60.      Admit.

      61.      Proposed Defendant-Intervenors admit that the Service entered a Final Rule

regarding the species’ status as published at 87 Fed. Reg. 72,674 (Nov. 25, 2022). The Final Rule

speaks for itself and is the best evidence of its content. Proposed Defendant-Intervenors deny any

allegations contrary to its plain language, meaning, and context. The remaining allegations in

paragraph 61 constitute legal conclusions and Plaintiffs’ characterization of its case, which do not

require a response.

      62.      The allegations in paragraph 62 purport to describe or characterize the contents of

the Species Status Assessment Report and the Final Rule which speak for themselves and are the

best evidence of their content. Proposed Defendant-Intervenors deny any allegations contrary to

their plain language, meaning, and context.



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      63.      The allegations in paragraph 63 purport to describe or characterize the contents of

the Species Status Assessment Report which speaks for itself and is the best evidence of its content.

The remaining allegations constitute legal conclusions and Plaintiffs’ characterization of its case,

which do not require a response. To the extent a response is required, Proposed Defendant-

Intervenors deny the allegations.

      64.      The allegations in paragraph 64 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      65.      The allegations in paragraph 65 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      66.      The allegations in paragraph 66 purport to describe or characterize the contents of

the Final Rule, which speaks for itself and is the best evidence of its content. Proposed Defendant-

Intervenors deny any allegations contrary to its plain language, meaning, and context.

      67.      The allegations in paragraph 67 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      68.      The allegations in paragraph 68 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

68 purport to describe or characterize the contents of the Final Rule and DPS Policy, which speak

for themselves and are the best evidence of their content. Proposed Defendant-Intervenors deny

any allegations contrary to their plain language, meaning, and context.



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      69.      The allegations in paragraph 69 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

69 purport to describe or characterize the contents of the Final Rule and DPS Policy, which speak

for themselves and are the best evidence of their content. Proposed Defendant-Intervenors deny

any allegations contrary to their plain language, meaning, and context.

      70.      The allegations in paragraph 70 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

70 purport to describe or characterize the contents of the Final Rule and DPS Policy, which speak

for themselves and are the best evidence of their content. Proposed Defendant-Intervenors deny

any allegations contrary to their plain language, meaning, and context.

      71.      The allegations in paragraph 71 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

71 purport to describe or characterize the contents of the SSA, which speaks for itself and is the

best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary to its

plain language, meaning, and context.

      72.      The allegations in paragraph 72 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

72 purport to describe or characterize the contents of the Final Rule, which speaks for itself and is




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the best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary to

its plain language, meaning, and context.

      73.      The allegations in paragraph 73 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      74.      The allegations in paragraph 74 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      75.      The allegations in paragraph 75 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      76.      The allegations in paragraph 76 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      77.      The allegations in paragraph 77 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      78.      The allegations in paragraph 78 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

70 purport to describe or characterize the contents of the Final Rule and PECE Policy, which speak

for themselves and are the best evidence of their content. Proposed Defendant-Intervenors deny

any allegations contrary to their plain language, meaning, and context.



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      79.      The allegations in paragraph 79 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      80.      The allegations in paragraph 80 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      81.      The allegations in paragraph 81 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      82.      The allegations in paragraph 82 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      83.      The allegations in sentence one of paragraph 83 purport to describe or characterize

the contents of the ESA and regulations implementing the ESA, which speaks for themselves and

are the best evidence of their content. Proposed Defendant-Intervenors deny any allegations

contrary to their plain language, meaning, and context. The allegations in sentence two of

paragraph 83 constitute legal conclusions and Plaintiffs’ characterization of its case, which do not

require a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      84.      The allegations in paragraph 84 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

84 purport to describe or characterize the contents of the Final Rule, which speaks for itself and is



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the best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary to

its plain language, meaning, and context.

      85.      The allegations in paragraph 85 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      86.      The allegations in paragraph 86 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

86 purport to describe or characterize the contents of the Final Rule, which speaks for itself and is

the best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary to

its plain language, meaning, and context.

      87.      The allegations in paragraph 87 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations. Additionally, the allegations in paragraph

87 purport to describe or characterize the contents of the Final Rule, which speaks for itself and is

the best evidence of its content. Proposed Defendant-Intervenors deny any allegations contrary to

its plain language, meaning, and context.

      88.      Proposed Defendant-Intervenors lack knowledge or sufficient information to form

a belief as to the truth of the allegations in paragraph 88 and, on that basis, deny them.

                                 VI.     CLAIMS FOR RELIEF

      89.      Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.




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      90.      The allegations in paragraph 90 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      91.      The allegations in paragraph 91 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      92.      The allegations in paragraph 92 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      93.      The allegations in paragraph 93 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      94.      Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.

      95.      The allegations in sentences one and two of paragraph 95 purport to describe or

characterize the contents of the Final Rule and PECE Policy, which speaks for themselves and are

the best evidence of their content. Proposed Defendant-Intervenors deny any allegations contrary

to their plain language, meaning, and context. The allegations in sentence three of paragraph 95

purport to describe or characterize the contents of a decision by this Court, which speaks for itself

and is the best evidence of its contents. To the extent a response is required, Proposed Defendant-

Intervenors deny the allegations.




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      96.      The allegations in paragraph 96 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      97.      The allegations in paragraph 97 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      98.      The allegations in paragraph 98 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      99.      Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.

      100.     The allegations in paragraph 100 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      101.     The allegations in paragraph 101 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations. Additionally, the allegations in paragraph 101 purport to describe or characterize the

contents of the Final Rule, which speaks for itself and is the best evidence of its content. Proposed

Defendant-Intervenors deny any allegations contrary to its plain language, meaning, and context.

      102.     The allegations in paragraph 102 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.




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      103.     The allegations in paragraph 103 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      104.     Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.

      105.     The allegations in paragraph 105 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      106.     The allegations in paragraph 106 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      107.     The allegations in paragraph 107 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      108.     The allegations in paragraph 108 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      109.     The allegations in paragraph 109 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      110.     The allegations in paragraph 110 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.



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      111.     The allegations in paragraph 111 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      112.     Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.

      113.     The allegations in paragraph 113 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      114.     The allegations in paragraph 114 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

      115.     The allegations in paragraph 115 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      116.     The allegations in paragraph 116 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.

      117.     Proposed Defendant-Intervenors restate and incorporate by reference all responses

to all preceding paragraphs.

      118.     The allegations in paragraph 118 constitute legal conclusions, which do not require

a response. To the extent a response is required, Proposed Defendant-Intervenors deny the

allegations.




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      119.     The allegations in paragraph 119 constitute legal conclusions and Plaintiffs’

characterization of its case, which do not require a response. To the extent a response is required,

Proposed Defendant-Intervenors deny the allegations.

                                  CONCLUSION & PRAYER

The remaining paragraphs of Plaintiffs’ complaint constitute a request for relief to which no

response is required.

                                      GENERAL DENIAL

Proposed Defendant-Intervenors deny each and every allegation of Plaintiff’s Complaint not

otherwise expressly admitted, qualified, or denied herein.

DATED: June 5, 2023                           Respectfully submitted,

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